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NICHOLAS A. TRUTANICH

 

United States Attorney — ie —— REcaven
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District of Nevada COUNSEL/PARTIES OF Recon

 

STEVEN W. MYHRE
Assistant United States Attorney 1 NOV 20 2019
District of Nevada
Nevada Bar No. 9635 CLERK US DISTRICT COURT
501 Las Vegas Boulevard South, Suite 1100 DISTRICT OF NEVADA
Las Vegas, Nevada 89101 BY: DEPUTY
Phone: 702-388-6336

steven. myhre@usdoj.gov

Representing the United States of America

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
UNITED STATES OF AMERICA, CRIMINAL INDICTMENT
Plaintiff, Case No.: 2:19-cr- BAK
vs. VIOLATIONS:
LATONIA SMITH, 18 U.S.C. § 876(c) — Mailing Threatening
Communications (Counts One through
Defendant. Five)

 

 

THE GRAND JURY CHARGES THAT:

COUNT ONE
Mailing Threatening Communications
(Title 18, United States Code, Section 876(c))
On or about August 11, 2018, in the State and Federal District of Nevada and
elsewhere,
LATONIA SMITH,
defendant herein, knowingly caused to be delivered by the United States Postal Service,

according to the directions thereon, a communication containing a threat to injure the’

person of the addressee and another, to wit: a letter directed to S.R., stating, among other

 
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things, “yo[u] do not deserve the air you breath . . . all will die . . . starting with the head . .
. REAL THREAT... FIX IT... .Deadline Monday . . . Pass Along.”

All in violation of Title 18, United States Code, Section 876(c).

COUNT TWO
Mailing Threatening Communications
(Title 18, United States Code, Section 876(c))

On or about April 25, 2019, in the State and Federal District of Nevada and

elsewhere,
LATONIA SMITH,

defendant herein, knowingly caused to be delivered by the United States Postal Service .
according to the directions thereon, a communication to injure the person of the addressee
and another, to wit: letters addressed to W.B. and S.B., stating, among other things,
“lclongratulations you have just been added to the hit list .. . congratulations on your
wedding [S.B. ] hopefully you’ll be around for many years to enjoy it . . . revenge is the
sweetest joy and every single one of you will meet it face to face no one will be safe . . . will
never see it coming it will just be lights out... .”

All in violation of Title 18, United States Code, Section 876(c).

COUNT THREE
Mailing Threatening Communications
(Title 18, United States Code, Section 876(c)) -

On or about September 30, 2019, in the State and Federal District of Nevada and

elsewhere,
LATONIA SMITH,

defendant herein, knowingly caused to be delivered by the United States Postal Service

according to the directions thereon, a communication to injure the person of the addressee

and another, to wit: letters addressed to S.P., stating, among other things, “[y]our throat
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will be slit you will be recorded as the blood spills from your neck and just as you gasp to
take your final undeserving breath three bullets will be placed right through your skull . . .
[w]hen you least expect it you will beg for your lives and your childrens lives. Everyone
around you will die a painful death... .”
. All in violation of Title 18, United States Code, Section 876(c).
COUNT FOUR
Mailing Threatening Communications
(Title 18, United States Code, Section 876(c))

On or about September 30, 2019, in the State and Federal District of Nevada and

elsewhere,
‘LATONIA SMITH,

defendant herein, knowingly caused to be delivered by the United States Postal Service
according to the directions thereon, a communication to injure the person of the addressee
and another, to wit: a letter addressed to T.G., stating, among other things, “[y]our throat
will be slit you will be recorded as the blood spills from your neck and just as you gasp to
take your final undeserving breath three bullets will be placed right through your skull .. .
[w]hen you least expect it you will beg for your lives and your childrens lives. Everyone
around you will die a painful death... .”

All in violation of Title 18, United States Code, Section 876(c).

COUNT FIVE
Mailing Threatening Communications
(Title 18, United States Code, Section 876(c))
On or about October 1, 2019, in the State and Federal District of Nevada and

elsewhere, .

LATONIA SMITH,

 

 
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defendant herein, knowingly caused to be delivered by the United States Postal Service
according to the directions thereon, a communication to injure the person of the addressee
and another, to wit: a letter received by J.W., stating, among other things, “[y]our throat
will be slit you will be recorded as the blood spills from your neck and just as you gasp to
take your final undeserving breath three bullets will be placed right through your skull...
[w]hen you least expect it you will beg for your lives and your childrens lives. Everyone
around you will die a painful death... .” |

All in violation of Title 18, United States Code, Section 876(c).

DATED this 20° day of November 2019.

A TRUE BILL:

/S/
FOREPERSON OF THE GRAND JURY

NICHOLAS
United St

Lg

    

A. TRUTANICH

  

Assistant United States Attorney

 

 
